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     ID Number: 800902778                                             I   Request certificate   I I   Return to Results J   I   New search   I
     Summary for: LIBERTARIAN PARTY OF MICHIGAN EXECUTIVE COMMITTEE, INC.

     The name of the DOMESTIC NONPROFIT CORPORATION:                        LIBERTARIAN PARTY OF MICHIGAN EXECUTIVE
     COMMITTEE, INC.




    Entity type:      DOMESTIC NONPROFIT CORPORATION

    Identification Number: 800902778 Old ID Number: 792439


    Date of Incorporation in Michigan:      01/19/2005


I   Purpose:


I   Term:   Perpetual


    Most Recent Annual Report:      2022                         Most Recent Annual Report with Officers & Directors:                        2022


    The name and address of the Resident Agent:
    Resident Agent Name:            VICKI HALL

    Street Address:                 2615 HYLAND ST
    Apt/Suite/Other:

    City:                           FERNDALE                              State: MI                      Zip Code:     48220

    Registered Office Mailing address:
    P.O. Box or Street Address:     2615 HYLAND ST
    Apt/Suite/Other:
    City:                           FERNDALE                              State:                         Zip Code:     48220




    The Officers and Directors of the Corporation:

    Title                    Name                                                  Address
    PRESIDENT                ANDREW CHADDERDON                                     30005 MALVERN ST WESTLAND, MI 48185 USA
    TREASURER                NORMAN PETERSON                                       1742 MALVERN JACKSON, MI 48203 USA
    SECRETARY                DANIEL ZIEMBA                                         1457 S SHELDON RD APT 1 PLYMOUTH, MI 48170 USA
    DIRECTOR                 RYAN ROBERTS                                          505 29TH ST GLADSTONE, MI 49837 USA
    DIRECTOR                 JORDAN MARTIN                                         869 EMERALD AVE NE GRAND RAPIDS, MI 49503 USA
    DIRECTOR                 RICK THELEN                                           2144 S GRANGE RD FOWLER, MI 48835 USA
    DIRECTOR                 DAVID CANNY                                           15223 RIPPLE DR LINDEN, MI 48451 USA
    DIRECTOR                 BRUCE JAQUAYS                                         1841 LERENE DR COMMERCE TWP, MI 48390 USA
    DIRECTOR                 DANIEL MUEHL-MILLER                                   19 PINE HIGHLAND, MI 48357 USA
    DIRECTOR                 BRIAN ELLISON                                         15006 WOODPINE DR MONROE, MI 48161 USA
    DIRECTOR                 LARRY HENNEMAN                                        53242 DAY RD MARCELLUS, MI 49067 USA
    DIRECTOR                 TREVOR STEP                                           9130 HURON RIVER DR BRIGHTON, MI 48116 USA
    DIRECTOR                 JOE BRUNGARDT                     EXHIBIT 48          4140 18 1/2 MILE RD STERLING HEIGHTS, MI 48314 USA
    DIRECTOR                 DAVE FRANKLIN                                         6901 HUBBARD ST GARDEN CITY, MI 48135 USA
